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 6   Attorney for Debtor/Defendant
     NAOMI DYE-CHEN
 7
                               UNITED STATES BANKRUPTCY COURT
 8

 9                              SOUTHERN DISTRICT OF CALIFORNIA

10
     In re                              )                 Case No. 06-2200-M7
11
                                        )
12        NAOMI DYE-CHEN ,              )                 ADV. No. 06-90461-JM
                                        )
13                                      )                 ANSWER TO COMPLAINT
                                        )                 TO DETERMINE DISCHARGEABILITY
14
                        Debtor(s)       )                 OF DEBT
15   ___________________________________)
     MICHAEL GUERREIRO,                 )
16                                      )
                Plaintiff,              )
17
     v.                                 )
18                                      )
     NAOMI CHEN,                        )
19                                      )
20
                Defendant.              )
     ___________________________________)
21
             COMES NOW, NAOMI DYE-CHEN (aka NAOMI CHEN) and answers the Complaint
22

23
     (the Complaint) filed herein for herself only.

24           1. Defendant admits the allegations of paragraph 1 of the Complaint.
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             2. Defendant admits the allegations of paragraph 2 of the Complaint
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             3. Defendant admits the allegations of paragraph 3 of the Complaint.
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             4. Defendant admits the allegations of paragraph 4 of the Complaint.
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 1             5. Defendant ADMITS Plaintiff is listed in Debtor’s schedules, but DENIES all of the
 2
     other allegations of Paragraph 5 of the Complaint.
 3
               6. Defendant ADMITS the allegations of paragraph 6 of the Complaint.
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 5             7. Defendant ADMITS the allegations of paragraph 7 of the Complaint.

 6                                          FIRST CLAIM FOR RELIEF
                                               11 U.S.C. §523(a)(2)(A)
 7

 8             8. Defendant realleges her responses to Paragraph 1 through 7 as though fully set forth

 9   herein.
10
               9. Defendant admits that, based on information provided to her by a third party, she
11
     represented that Plaintiff’s funds would be invested in real estate that was in foreclosure to be
12
     resold at a profit and that Plaintiff could have his money returned within ten business days.
13

14   Defendant denies each and every other allegation of Paragraph 9 of the Complaint, in particular

15   any allegations of a pre-existing, long-time friendship with Plaintiff.
16
               10. Defendant DENIES the allegations of Paragraph 10 of the Complaint.
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               11. Defendant DENIES the allegations of Paragraph 11 of the Complaint.
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19
               12. Defendant lacks sufficient information to admit or deny the Plaintiff’s reason for

20   investing and based on that lack of information Defendant DENIES those allegations of
21   paragraph 12 of the Complaint. Defendant ADMITS that Plaintiff invested the sums set forth in
22
     sub-paragraphs A and B of paragraph 12 of the Complaint. Defendant denies each and every
23
     other allegation set forth in Paragraph 12 of the Complaint.
24

25             13. Defendant lacks sufficient information or belief to answer the allegations of

26   Paragraph 13 of the Complaint and based on this lack of information DENIES each and every
27
     allegation of Paragraph 13 of the Complaint.
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               14. Defendant ADMITS the allegations of paragraph 14 of the Complaint.



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 1             15. Defendant DENIES the allegations of Paragraph 15 of the Complaint.
 2
               16. Defendant DENIES the allegations of Paragraph 16 of the Complaint.
 3
               17. Defendant DENIES the allegations of Paragraph 17 of the Complaint.
 4

 5             18. Defendant DENIES the allegations of Paragraph 18 of the Complaint.

 6                                        SECOND CLAIM FOR RELIEF
                                              11 U.S.C. §523(a)(6)
 7

 8             19. Defendant realleges her responses to Paragraph 1 through 18 as though fully set forth

 9   herein.
10
               20. Defendant DENIES the allegations of Paragraph 20 of the Complaint.
11
               21. Defendant DENIES the allegations of Paragraph 21 of the Complaint.
12
               22. Defendant DENIES the allegations of Paragraph 22 of the Complaint.
13

14                                      FIRST AFFIRMATIVE DEFENSE

15         Plaintiff’s Complaint fails to set forth facts sufficient to state a cause of action against
16
     Defendant.
17
                                       SECOND AFFIRMATIVE DEFENSE
18

19
          Plaintiff is barred from proceeding against Defendant on the ground of estoppel.

20                                     THIRD AFFIRMATIVE DEFENSE
21        Plaintiff has failed to mitigate his damages, if any, that are alleged to have been caused by
22
     Defendant.
23
               WHEREFORE, Defendant prays for judgment as follows:
24

25             1. For judgment in favor of Defendant.

26             2. That Plaintiff take nothing by his complaint
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               3. That Defendant be granted such other and further relief as this court may deem just
28
     and proper, including all fees and costs incurred in these proceedings.



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 1   Dated: December 17, 2006               /s/Judith A. Descalso
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                                            Judith A. Descalso
                                            Attorney for Defendant
 3                                          Naomi Dye-Chen
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